Case 3:23-cv-00058 Document 77 Filed 11/06/23 Page 1 of 1 PagelD #: 1199

IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
HUNTINGTON DIVISION

GENBIOPRO, INC.,
Plaintiff,

Vv.
Civil Action No.: 3:23-cv-00058

KRISTINA RAYNES, in her official capacity (Hon. Robert C. Chambers)
as Prosecuting Attorney of Putnam County,
AND PATRICK MORRISEY, in his official
capacity as Attorney General of West Virginia,

Defendants.

ORDER REGARDING JOINT STIPULATION AND JOINT MOTION
For the reasons stated in the Court’s memorandum opinions and orders, Dkt. Nos. 54,
66, the First Amended Complaint is hereby dismissed, judgment is entered in favor of
Defendants, and this case is closed.
The Clerk is directed to send copies of this Order to those counsel of record who have

registered to receive an electronic NEF.

IT IS SO ORDERED this L day of November, 2023.

TEA

Robert C. Chambers
United States District Judge -

